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                            IN THE UNITED STATES DISTRICT COURT

                             FOR THE EASTERN DISTRICT OF TEXAS

                                          TYLER DIVISION

 UNITED STATES OF AMERICA                           §

 Vs.                                                §   CRIMINAL ACTION NO. 6:08CR17

 CURTIS O’NEIL FORD                                 §



             FINDINGS OF FACT AND RECOMMENDATION ON FELONY GUILTY
                   PLEA BEFORE UNITED STATES MAGISTRATE JUDGE


        Pursuant to 28 U.S.C. § 636(b), this matter has been referred by the District Judge for

 administration of the guilty plea and allocution under Rule 11 of the Federal Rules of Criminal

 Procedure.

        On the 24th day of June, 2008, this cause came before the undersigned United States

 Magistrate Judge for Guilty Plea and Allocution of the Defendant, Curtis O’Neil Ford, on the 1-

 Count Information1 filed herein charging him with a violation of Title 21, United States Code,

 Section 846. After conducting the proceeding in the form and manner prescribed by Fed.R.Crim.P.

 11, the Court finds:

        a.        That the Defendant, after consultation with counsel of record, has knowingly and
                  voluntarily consented to the administration of the Guilty Plea and Allocution in this
                  cause by a United States Magistrate Judge subject to a final approval and imposition
                  of sentence by the District Judge.

        b.        That the Defendant pled guilty to Count 1 of the Information, pursuant to a
                  Fed.R.Crim.P. 11(c)(1)(C) plea agreement with the Government. The plea agreement


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            In open court, the Defendant signed a waiver of Indictment.

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                has been filed and disclosed in open court pursuant to Fed.R.CrimP. 11(c)(2). Count
                1 of the Information charges the Defendant with Conspiracy to possess with intent
                to distribute and distribution of at least 50 grams or more but less than 500 grams of
                a mixture or substance containing a detectable amount of methamphetamine, in
                violation of Title 21, United States Code, Section 846.

        c.      That the Defendant is fully competent and capable of entering an informed plea, that
                the Defendant is aware of the nature of the charges and the consequences of the plea,
                and that the plea of guilty is a knowing and voluntary plea supported by an
                independent basis in fact containing each of the essential elements of the offense.

        IT IS THEREFORE the recommendation of the undersigned United States Magistrate

 Judge that the District Judge accept the Plea Agreement and the Guilty Plea of the Defendant,

 conditional upon a review of the presentence report, and that the Defendant, CURTIS O’NEIL

 FORD, be finally adjudged guilty of that offense.

        The United States District Clerk shall serve notice of this proposed Findings of Fact and

 Recommendation on all parties by electronic mail. Within ten (10) days after receipt of the

 magistrate judge’s report, any party may serve and file written objections to the findings, conclusions

 and recommendations contained in this report. A party’s failure to file written objections to the

 findings, conclusions and recommendations contained in this report within ten days after being

 served with a copy shall bar that party from de novo review by the district judge of those findings,

 conclusions and recommendations and, except on grounds of plain error, from appellate review of

 unobjected-to factual findings and legal conclusions accepted and adopted by the district judge.

 Douglass v. United States Auto Ass’n., 79 F.3d 1415, 1430 (5th Cir. 1996) (en banc).

              So ORDERED and SIGNED this 24 day of June, 2008.



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                                                              JUDITH K. GUTHRIE
                                                              UNITED STATES MAGISTRATE JUDGE

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